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                            UNITED STATES DISTRICT COURT
                                DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                             :
                                                     :      Magistrate #:_______________
                      v.                             :
                                                     :
MICHAEL JABAAR WILKINS,                              :
                                                     :
                              Defendant.             :



                         STATEMENT OF OFFENSE
        IN SUPPORT OF CRIMINAL COMPLAINT AND ARREST WARRANT

       1.      This affidavit is made in support of an application for a criminal complaint and

arrest warrant charging Michael Jabaar Wilkins (“WILKINS”) with violations of 18 U.S.C. §

2422(a), Coercion and Enticement, and 18 U.S.C. § 1952(a)(3), Interstate and Foreign Travel or

Transportation in Aid of Racketeering Enterprises.

       2.      The facts and information contained in this affidavit are based on my personal

knowledge and experience, information obtained from federal and/or state law enforcement

officers, interviews of cooperating individuals, relevant documents and/or computer files, forensic

examinations, and information gained through my training and experience. This affidavit contains

only information necessary to show that there is sufficient probable cause for the complaint

submitted with this affidavit and does not set forth every fact known to the government.

       3.      Based on my training and experience, and the facts stated herein, I respectfully

submit there is probable cause to believe that violations of 18 U.S.C. § 2422(a), Coercion and

Enticement, and 18 U.S.C. § 1952(a)(3), Interstate and Foreign Travel or Transportation in Aid of

Racketeering Enterprises have been committed by WILKINS.




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       4.         Members of the MPD and FBI CEHTTF have been actively investigating an area

of Washington, DC known for street-level commercial sexual exploitation. This area stretches

from the South at K Street, Northwest to the North at Rhode Island Avenue, Northwest, and from

the East at 9th Street, Northwest, to the West at 14th Street Northwest (herein the “target area”).

The target area is the subject of a substantial number of complaints to police between the hours of

3:30 a.m. to 8:00 a.m. by individuals residing or working in the target area. These complaints are

primarily related to crimes stemming from the ongoing commercial sexual exploitation activity

occurring in the target area, to include complaints of robberies, prostitution, disorderly conduct,

and violent assaults.

       5.         August 7, 2019 – Assault. On August 7, 2019, at approximately 7:00 a.m., a

resident of the                 12th Street, Northwest observed an assault behind her home. The

assault was also captured by surveillance footage. The reporting witness advised that she saw a

male, whom the witness believes is a pimp, attack a female whom the witness referred to as a

prostitute. The reporting witness forwarded this information and the surveillance footage to a

member of MPD’s Third District, who in turn provided the information to your affiant.

       6.         Your affiant reviewed the surveillance footage and observed a man, known to your

affiant as WILKINS, physically assault a female known to engage in commercial sex acts (herein

“complainant”) in the target area. The video depicts WILKINS cornering the complainant in the

parking pad of a home in the                  12th Street Northwest. WILKINS is shown grabbing

the complainant’s arm as she attempts to move away from him, and striking her with an open hand.

The video also shows WILKINS grabbing either side of the complainant’s head and neck and

shaking the complainant’s head.




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         7.    This surveillance video shows that the assault is witnessed by another man known

to your affiant as Amiyr Brown (herein “BROWN”), who is standing in close proximity to

WILKINS as WILKINS assaults the complainant. BROWN is also known by your affiant to

frequent the target area and is believed to be a pimp involved in the commercial sexual exploitation

of females. BROWN can be heard yelling at the complainant and stating that she had looked at

him while she was walking around. The complainant is heard denying that she looked at BROWN,

stating that she was talking to an “old trick” and that BROWN was wrong about her looking at

him. 1

         8.    A third man known to your affiant as Gabriel Reachmack (herein

“REACHMACK”) is depicted in the surveillance video walking up during this argument between

BROWN and the complainant and telling WILKINS that the complainant embarrassed herself.

REACHMACK states that WILKINS’s “ho is in the toilet.” REACHMACK then mimics flushing

something down a toilet with his foot. REACHMACK additionally states that the complainant

had been looking at another pimp that was not hers.

         9.    The surveillance video then depicts BROWN, REACHMACK, and WILKINS

leaving the area in two different vehicles. They leave the complainant behind. The complainant

was contacted by MPD Patrol Officers shortly after the men left.

         10.   July 26, 2019 – Surveillance. Previously, on July 26, 2019, members of the

MPDC/FBI CEHTTF conducted surveillance in the target area from the hours of 3:30 a.m. until

7:30 a.m. During the course of the surveillance, the members of CEHTTF observed WILKINS



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  Your affiant is aware, based upon my training and experience, that there are certain rules in place
in commercial sexual exploitation relationships between pimps and the females that they are
directing to engage in commercial sex acts. Based upon my training and experience, I have learned
that one such common rule is that women who are working under the behest or for a certain pimp
are forbidden from looking at another pimp while working on the street.
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and BROWN standing in the                    12th Street, Northwest with other men believed to be

pimps engaged in the facilitation of commercial sexual exploitation. Additionally, the members

of CEHTTF observed the complainant walking the target area during the same hours, engaging in

behavior that indicates to your affiant that the complainant was engaging in commercial sex

transactions. The complainant was observed standing in the target area and talking with other

women believed to be engaging in commercial sex transactions.

       11.     The members of CEHTTF also observed some of the men seen with WILKINS

leave the area with some of the women believed to be engaging in commercial sex transactions in

the target area. WILKINS was observed picking up the complainant while he was driving a

Cadillac Sedan, with Virginia registration               . WILKINS and the complainant were

observed traveling out of the target area on Rhode Island Avenue, Northwest, and surveilled until

they turned north on Lincoln Road, Northeast.

       12.     Prostitution-Related Advertisements. Your affiant conducted a records search of

open source and law enforcement databases in an effort to determine the complainant’s identity.

A photograph of the complainant from a July 26, 2019 surveillance operation was uploaded to

facial recognition software which led to a match. You affiant learned that the complainant was a

witness to an incident in Norfolk, Virginia, on June 12, 2019, in which WILKINS suffered a

gunshot wound to his groin.

       13.     A phone number of                    which is registered to T-Mobile, was identified

as belonging to the complainant from an open source database search. Members of the CEHTTF

searched for this phone number in a database that compiles prostitution-related advertisements and

found that it was linked to six hundred and ninety-one (691) prostitution advertisements with dates

ranging from February 1, 2019 to August 10, 2019. These advertisements were posted in twenty-



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three cities including Virginia Beach, Chesapeake, and Norfolk, Virginia, and Washington, D.C.

Among these advertisements was an advertisement for the complainant that was posted on June

12, 2019 in Norfolk, Virginia.

        14.    WILKINS’s Social Media and Communications. A search of the social media

website “Instagram” resulted in the identification of a private Instagram account named

Thereal_luckycharm, which featured a photograph of WILKINS as the profile picture. A grand

jury subpoena was issued to Instagram for subscriber information and internet protocol (IP)

addresses associated with this account.

        15.    Instagram provided information responsive to the subpoena that included email

addresses and phone numbers registered to the user of the identified account. The phone numbers

included                 , which Instagram reported had been used to verify the Instagram account

of Thereal_luckycharm.

        16.    A member of the CEHTTF searched a social media account that was previously

used by a known sex trafficker, but that is now being utilized by law enforcement working in an

undercover capacity, to determine whether there had been any interactions between

Thereal_luckycharm and the known trafficker who had previously owned the account. This

CEHTTF officer located conversations from December 2018 between Thereal_luckycharm and

the known trafficker in which the two engaged in banter using slang terms commonly employed

by pimps engaged in commercial sexual exploitation to reinforce the culture and lifestyle of a

pimp.




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       17.     Within the messages, Thereal_luckycharm provided a phone number of

      to the known trafficker via Instagram Direct Message. Your affiant conducted a records

search of this phone number and found that it had been identified as belonging to WILKINS on

several occasions.

       18.     Background and History of WILKINS. Your affiant conducted a records search

of law enforcement databases and open source databases in an attempt to identify a history of

contacts that WILKINS has had with law enforcement. Your affiant found that a witness spoke to

law enforcement on September 9, 2017, and advised law enforcement that he had known

WILKINS since he was a child. The witness advised that WILKINS has a history of being

involved in narcotics distribution, and also advised that WILKINS was a pimp. The witness

reported that WILKINS had transported at least three women to Washington, D.C. to engage in

prostitution from the Norfolk, Virginia area, and that he had been arrested in Virginia with one of

these females. The witness advised that this information was gathered from statements made to

the witness by WILKINS, and by first-hand observations the witness had made of WILKINS.

       19.     A search of historical contacts by law enforcement with WILKINS also revealed

an arrest of WILKINS in Washington, D.C. on June 18, 2018, during the early morning hours.

WILKINS was arrested after being found operating a vehicle without a permit to do so by members

of MPD’s Third District. The members of MPD observed WILKINS driving his car in the target

area on June 18, 2018. The members of MPD also witnessed WILKINS, in his vehicle, approach

women known to be engaging in commercial sex transactions and speak with them. MPD

members also observed WILKINS commit a traffic offense in the target area, and conducted a

traffic stop which led to his arrest for a “No Permit” Violation.




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       20.     The MPD members who arrested WILKINS were familiar with him at the time,

and were aware that he was involved in the ongoing prostitution-related activity in the target area.

The MPD members therefore seized a ZTE cellular phone from WILKINS as evidence of this

activity, and this device has been in the custody of MPD’s Evidence Control Division since its

seizure and transfer from the Third District’s Property Office.

       21.     August 3, 2019 – MPD Undercover Investigation. On August 3, 2019, members

of MPD’s Human Trafficking Unit (HTU) were acting in an undercover capacity in the target area.

One of the HTU members was working undercover posing as a prostitute. This HTU member was

contacted by WILKINS while in the undercover capacity. The undercover officer reported that

WILKINS, who was in the driver’s seat of a conversion van, contacted her while she was in the

target area. WILKINS asked the undercover officer who she worked for and why she was out on

his block. The undercover advised WILKINS that it did not matter who she worked for, and asked

why he was asking her. WILKINS advised the undercover that she was speaking with a pimp, and

the undercover asked WILKINS if he was looking for a date. The undercover advised that

WILKINS became agitated at this point, and got in the undercover officer’s face. WILKINS

walked away from the undercover officer, and proceeded to watch the undercover as she continued

to stay on the block. The undercover officer reported that she continued to act as a prostitute and

engaged in conversations with potential commercial sex customers while WILKINS watched. The

undercover officer reported that she asked a customer to come back in ten minutes for a date and,

once the customer left, WILKINS again approached the officer and asked why she was giving

money away. The undercover advised that she did not turn any tricks for $15, and told WILKINS

that, while he allowed his girls to do that, she would not. WILKINS advised the undercover at this

time that he would not let his girls do so either.



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       22.     WILKINS then asked how much money the undercover had on her, and reached

for the undercover’s fanny pack. The undercover swatted WILKINS’s hand away and told him

not to touch her. WILKINS responded by squaring up in a fighting stance with the undercover,

and chest bumped her. WILKINS then told the undercover to go sit in the green van so that they

could talk. The undercover advised WILKINS that she had not “chosen up” 2 and that she was not

going anywhere with him. WILKINS continued to linger in the area after the exchange with the

undercover, which forced the undercover to leave the area.

       23.     September 10, 2019 – MPD Investigation/Complainant’s Statement.                   On

September 10, 2019 (that is, after WILKINS’s assault of the complainant on August 7), members

of HTU were acting in an undercover capacity in the                   New York Avenue, Northeast

due to complaints regarding prostitution activity in the area. During the course of the operation, an

undercover officer contacted the complainant through an advertisement posted on a known

prostitution website, which indicated that the complainant was available for commercial sexual

activity. The undercover officer arranged to meet with the complainant to engage in sex acts with

her in exchange for money. The undercover asked that the complainant come to the Fairfield Inn

and Suites located at 2305 New York Avenue Northeast to engage in a commercial sex transaction

on September 12, 2019, at 10:00 pm.

       24.     On September 12, 2019, at approximately 10:58 pm, members of the HTU observed

the complainant being dropped off at the Fairfield Inn and Suites by an individual driving a Dodge

Ram 1500 Conversion Van with Virginia Tags                  . The HTU member who was acting as

an undercover officer on August 3, 2019, as described above, observed the conversion van drop




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  “Choosing up” is a slang term used by individuals involved in commercial sex trafficking to refer
to a prostitute choosing a new pimp to work for over the pimp she was working for previously.
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the complainant off, and recognized the vehicle as the same vehicle from which WILKINS

approached her.

       25.     Members of the HTU arrested the complainant shortly thereafter for the offense of

“Solicitation of Prostitution,” and transported her to the Fifth District for processing. The

complainant was found to be in possession of a cellular phone which was seized as evidence. The

complainant was interviewed shortly after being arrested. She initially reported that she had been

dropped off at the hotel by a “date.” The complainant then reported that the man who dropped her

off was her pimp, and that she had only known him for approximately a month. The complainant

advised that she did not know her pimp’s real name, but reported that his nickname is “Lucky.”

The complainant further reported that she and “Lucky” had been staying at hotel rooms together. 3

       26.     Members of HTU located the green van described above shortly after the

complainant was arrested and conducted a traffic stop of the vehicle, which was observed idling

at a gas station for an extended period of time. WILKINS was the driver of the vehicle, and there

were no other occupants in the vehicle. WILKINS agreed to a search of his vehicle.        Several

purses, a bulk package of Trojan condoms, and items of female clothing were located in the van.

WILKINS was released from the scene at that time, and was not advised that he had been observed

dropping the complainant off at the hotel – prior to the date she had arranged with the undercover

law enforcement officer.

       27.     WILKINS’s Communications with the Complainant. On September 19, 2019,

Magistrate Judge Meriweather of the United States District Court for the District of Columbia

authorized search warrants for the phones belonging to WILKINS and the complainant. A




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 The United States Attorney’s Office for the District of Columbia declined to prosecute this
matter on September 11, 2019.
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computer forensic examiner conducted an examination of the contents of these devices, and

provided a report detailing the contents of both devices to your affiant. Your affiant reviewed the

reports and located numerous text messages and multimedia messages between the complainant

and a person using the phone number                    . The complainant identified this person in

her telephone contacts as “Mike” or “Daddy.” 4 Additionally, the user of the phone number

            sent a “selfie”-style photograph on August 31, 2019 to the complainant. The photograph

depicted WILKINS and included a message stating “come home bitch.” The communications

between the complainant and the person using the phone number                      , believed to be

WILKINS, revealed that the complainant left Washington, D.C. shortly after the assault captured

on the surveillance video, described above, and returned to the Norfolk, Virginia area. WILKINS

and the complaint repeatedly refer to the Norfolk areas as “home” throughout their text message

exchange.

       28.      Between mid-August 2019 and September 5, 2019, using his cellular telephone,

WILKINS repeatedly attempted to persuade, induce, and coerce the complaint to travel from

Norfolk, VA to Washington D.C., in order for her to engage in prostitution for his benefit. For

example, on August 16, 2019, WILKINS sent a text message to the complainant which stated,

“Get up baby come on down here I’ve been telling the my b**** coming back its prime time

Friday daddy broke ass shit im hurting I need my hoe to do her hoely dutys hurry up n come see

about me.” On August 30, 2019, WILKINS sent the complainant a series of text messages which

read: “I still hav love for u stop crying I want to make things right come on back up here with me

we need eachother baby”; “Daddy gon take care of u”; and “Don’t be no fool bitch stay focused




4
  Your affiant knows that “daddy” is a term used in the commercial sex trade by women engaging
in commercial sex transactions to refer to their pimps.
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that bitch washy washy get ur ass on the bus n let’s carry on our mission bitch…”. On September

3, 2019, WILKINS sent the complainant a series of texts that stated, “So why don’t us come up

here so we can get sum money”; “Its no need for me to wait for u cuz i know you aint coming back

cuz if u was u would have been came im just ready to come back n get on my mission to get me

some money my car right n find me a new bitch a strong one”; and “So get up here then lets get

all the money we can get so I can grind while im home.” Subsequent text exchanges on September

3 – 4, 2019 discuss the complainant traveling by bus from Norfolk, VA to Washington, D.C.

Through these messages, the complainant provided WILKINS with the address of Union Station,

located in Washington D.C., and informed him that she would arrive at 1:30 a.m. on the morning

of September 5, 2019. WILKINS responded to the complainant’s text messages, and informed the

complainant that he was at the station waiting for her.

       29.     Additional text message conversations between WILKINS and the complainant

were also reviewed by your affiant. For example, a text message exchange, which occurred on

September 5, 2019 at approximately 4:25 AM reads as follows:

                                   WILKINS: Walk down 2 12

                                WILKINS: Move on the outskirts

                         Complainant: OK what u seen police harassing 5

       30.     Based on my training and experience, and the review of the text messages in this

case, your affiant believes that this conversation shows that after WILKINS picked up the

complainant from Union Station in Washington, D.C., after 1:30 a.m., they traveled to the target

area together. The conversation detailed above shows WILKINS directing the complainant to




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 All text abbreviations and typographical errors in quoted text appear as they do in the original
evidence.
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move to a different part of the target area. Your affiant knows that 12th Street, Northwest, which

is at the heart of the target area, is a popular place for prostitutes to meet clients, and that the

prostitutes will move to the outskirts of 12th Street, Northwest to actually arrange and engage in

commercial sexual acts with clients.       WILKINS also sent the following messages to the

complainant, after providing direction to the complainant to move to the outskirts of the target

area:

                                WILKINS: Walk around the loop

                             WILKINS: U alright bitch stay focused

        31.    Text messages between WILKINS and the complainant, on September 5, 2019,

reveal that at approximately 6:21 p.m. on that date, WILKINS instructed the complainant, “Go

head to the room bitch.” The complainant later responded, “When they call IMA lower my rates

just by a dub doe.” 6 WILKINS replied, “Okay a bagger cant be choosy or picking they hav to

accept what they give them that’s not us but everything is negotiable.” The complainant then

texted WILKINS, at 9:05 pm, “I’m bout to date him for room…text you the room number when

done daddy.”

        32.    A phone number of                     , which is registered to T-Mobile, was identified

as belonging to the complainant from an open source database search. Members of the CEHTTF

searched for this phone number in a database that compiles prostitution-related advertisements and

found that it was linked to one hundred and seventy-five prostitution-related advertisements for

the complainant. The advertisements were posted between September 4, 2019 and September 27,




6
 Based upon your affiant’s training and experience, this translates roughly to, “I had to drop the
price by $20 though.”
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2019. These advertisements were listed in the Virginia Beach and Washington, D.C. area, and use

the same photographs of the complainant that were used in previous advertisements.

                                          CONCLUSION


       33.     Based on the foregoing evidence and my training and experience, I respectfully

submit that there is probable cause to believe that WILKINS knowingly attempted to persuade,

induce, entice, and coerce an individual to travel in interstate and foreign commerce to engage in

prostitution, and knowingly traveled in intestate and foreign commerce and used the mail and any

facility in interstate and foreign commerce with the intent to otherwise promote, manage, establish,

carry on and facilitate the management, establishment and carrying on of any unlawful activity,

that is prostitution offenses in violation of the laws of the United States.

                                               Respectfully submitted,


                                               Thomas Sullivan
                                               Detective
                                               MPDC



       Subscribed and sworn to before me on this 31st day of October, 2019




                                               _________________________________________
                                               DEBORAH A. ROBINSON
                                               UNITED STATES MAGISTRATE JUDGE




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